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                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division



  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUNIZ, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, JOHN DOE, and THOMAS
  BAKER,

                                   Plaintiffs,            Civil Action No. 3:17-cv-00072-NKM

   v.

   JASON KESSLER, et al.,

                                   Defendants.


     PLAINTIFFS’ OPPOSITION TO DEFENDANT CHRISTOPHER CANTWELL’S
          PURPORTED MOTIONS IN LIMINE, ECF FILINGS 1121 & 1123

        In one of his many recent motions, Defendant Christopher Cantwell makes the sweeping

 request that this Court exclude “the proposed expert testimony and all testimony regarding

 Cantwell’s or others[’] prior statements, whether on podcasts or Discord or anywhere else.” ECF

 No. 1121 at 10. Notwithstanding its caption, however, Cantwell’s motion is not a motion in limine.

 Instead, it is nothing but a poorly disguised and belated attempt to seek summary judgment on

 Plaintiffs’ conspiracy claims over a year after the deadline for dispositive motions. To the extent

 Cantwell’s motion also seeks to re-litigate evidentiary questions that this Court conclusively

 resolved, it makes no effort to justify a request for reconsideration.

        Likewise, Cantwell’s motion requesting a determination of whether a private right of action

 lies for certain predicate acts alleged in support of Plaintiffs’ civil conspiracy claim, and whether

 Plaintiffs have pled a valid false imprisonment claim, is nothing more than an untimely dispositive
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 motion. ECF No. 1123. To the extent Cantwell seeks dismissal of Plaintiffs’ claim that, as part

 of the alleged civil conspiracy, Defendants committed the tort of false imprisonment, a motion in

 limine is not the proper vehicle to raise that argument. Nor does that contention have any merit.

 In addition, in the interest of streamlining the issues at trial, Plaintiffs do not intend to rely on

 Defendants’ criminal violations to support their civil conspiracy claim. Thus, to the extent

 Cantwell seeks that relief, the issue is moot.

         Because these “motions in limine” are nothing more than poorly disguised and untimely

 dispositive motions, and because neither of these motions can (or even attempts to) satisfy the

 applicable requirements for seeking reconsideration of this Court’s prior rulings, this Court should

 deny both motions.


                                            ARGUMENT

    I.      ECF Filings 1121 & 1123 Should be Denied as Untimely Dispositive Motions.

         Though styled as motions in limine, at least two of Cantwell’s recent motions are actually

 dispositive motions. For example, in one motion, Cantwell requests that this Court rule as a matter

 of law that Plaintiffs’ conspiracy claim fails. See ECF No. 1121 8-10. Likewise, in another

 motion, Cantwell expressly asks the Court to either revisit issues that it already decided or that

 Cantwell failed to raise at the motion to dismiss or summary judgment stage. See ECF No. 1123

 at 1-2. Because those argument are not ones that can be properly raised in a motion in limine, and

 because the deadline for dispositive motions has long passed, Cantwell’s motions must be denied.

         A motion in limine is “any motion, whether made before or during trial, to exclude

 anticipated prejudicial evidence before the evidence is actually offered.” Luce v. United States,

 469 U.S. 38, 40 n.2 (1984); see also Goodman v. Praxair Services, Inc., No. 04-cv-391, 2009 WL

 10681955, at *1 (D. Md. June 16, 2009) (explaining that motions in limine are “widely recognized


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 as a salutary device to avoid the impact of unfairly prejudicial evidence upon the jury and to save

 a significant amount of time at the trial” (citations omitted)). “Unlike a summary judgment motion,

 which is designed to eliminate a trial in cases where there are no genuine issues of material fact, a

 motion in limine is designed to narrow the evidentiary issues for trial and to eliminate unnecessary

 trial interruptions.” Bradley v. Pittsburgh Board of Education, 913 F.2d 1064, 1069 (3d Cir.

 1990).

          Quite simply, “a motion in limine is not intended to be a dispositive motion,” Goodman,

 2009 WL 10681955, at *1 (citation omitted); see also Sabre International Security v. Torres

 Advanced Enterprise Solutions, LLC, 72 F. Supp. 3d 131, 138 (D.D.C. 2014), nor is it “another

 excuse to file dispositive motions” under the guise of an evidentiary dispute, Dunn ex rel Albery

 v. State Farm Mutual Auto Insurance Co., 264 F.R.D. 266, 274-275 (E.D. Mich. 2009). As many

 courts have recognized, if a motion in limine raises “an argument that goes to the sufficiency of

 [the plaintiffs’] evidence,” that “is not a proper basis for a motion to exclude evidence prior to

 trial,” even though it “might be a proper argument for summary judgment or for judgment as a

 matter of law.” Mid-America Tablewares, Inc. v. Mogi Trading Co., 100 F.3d 1353, 1363 (7th

 Cir. 1996); see also Goldman v. Healthcare Management Systems, Inc., 559 F. Supp. 2d 853, 871

 (W.D. Mich. 2008) (holding that “motions in limine are inappropriate vehicles to seek a final

 determination with respect to a substantive cause of action and should not be used as a substitute

 for a motion for summary judgment” (citations omitted)).

          Accordingly, when a motion in limine “is a mislabeled motion for partial summary

 judgment” that has been “filed long after the time for filing such motions expired,” the Court

 should “strip the motion of its creative labeling and re-characterize it to conform to its true nature.”

 Goodman, 2009 WL 10681955, at *1 (citation omitted). That is because “a mechanism already



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 exists in civil actions to resolve non-evidentiary matters prior to trial—the summary-judgment

 motion”—and “[a]llowing a party to litigate matters that have been or should have been resolved

 at an earlier stage not only allows those dissatisfied with the court’s initial ruling a chance to

 relitigate, but also deprives their opponents of the procedural protections that attach at summary

 judgment.” Louzon v. Ford Motor Co., 718 F.3d 556, 561 (6th Cir. 2013). Granting an untimely

 dispositive motion mislabeled as in limine would be reversible error. Id. at 563-564.

        Here, there is “no functional difference” between Cantwell’s motions and a partial motion

 for summary judgment. Bowyer v. Houck, No. 5:05-cv-00628, 2006 WL 6854908, at *1 (S.D. W.

 Va. Nov. 14, 2006). In fact, Cantwell reveals the true purpose of his motions by spending virtually

 every line advancing dispositive motion-type arguments.

        For example, in the first motion, Cantwell spends half of the filing, see ECF No. 1121 at

 1-7, purportedly summarizing the transcript of a meeting that took place on August 11, 2017, only

 to ask rhetorical questions such as “Where’s the conspiracy?,” id. at 3, and “Where’s the plan for

 racially motivated violence?” Id. at 5. Cantwell then argues that “no reasonable jury could find”

 that “such a meeting” or “such an agreement” actually “occurred.” Id. at 8.

        Meanwhile, in his other motion, Cantwell does not even attempt to disguise that it is a

 dispositive motion, as he expressly asks the Court to determine, among other things, “Whether

 Plaintiffs Have Pled A Valid Claim for Conspiracy to Commit False Imprisonment.” ECF No.

 1123 at 1. Quelling any lingering doubt, the motion focuses entirely on arguments that have

 nothing to do with evidentiary issues. Specifically, the motion focuses on his contention that the

 Court should “bar the Plaintiffs at trial from arguing that Cantwell is liable for conspiring” to

 violate certain criminal statues, and his baseless assertion that there is “no basis for a claim of

 conspiracy to commit false imprisonment.” Id. at 1-2.



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        In other words, the “true nature” of Cantwell’s motions “requires a summary-judgment

 analysis”—for they ask this Court to hold that Plaintiffs’ “evidence is insufficient as a matter of

 law.” Louzon, 718 F.3d at 562 (citing Fed. R. Civ. P. 56(a)). Because Cantwell is, “in essence,

 improperly seeking a dispositive ruling” through purported motions in limine, the motions must

 be denied. Hana Fin., Inc. v. Hana Bank, 735 F.3d 1158, 1162 (9th Cir. 2013), aff’d, 574 U.S.

 418 (2015); see also Dunn, 264 F.R.D. at 274-275 (“The denial of a motion in limine is warranted

 where the moving party seeks to argue the merits of its case and preclude the non-moving party

 from presenting its case”). That is especially so because Cantwell’s motions are “a back-door

 effort to file a case dispositive motion” well over a year after the deadline for such motions. Jones

 v. Graco Inc., No. 05-cv-2027, 2006 WL 2990431, at *2 (C.D. Ill. Oct. 19, 2006); see also ECF

 597 (setting August 7, 2020, as the deadline for dispositive motions); ECF 952 (striking, in May

 of 2021, one of Cantwell’s co-defendant’s motion for summary judgment as untimely filed).

        To be sure, Cantwell at times attempts to recast some of his arguments in evidentiary terms:

 he asserts, for example, that “what’s challenged here” is the purported lack of “foundation and

 relevance” to introduce “the proposed expert testimony and all testimony regarding Cantwell’s or

 others[’] prior statements, whether on podcasts or Discord or anywhere else.” ECF No. 1121 at

 10. But it is well established that a party’s “attempts to infuse into [his] motion an evidentiary

 matter”—for instance, “by arguing that this evidence was irrelevant and inadmissible” due to the

 plaintiffs’ inability “to make out a prima facie case”—are not enough to disguise a motion for

 summary judgment as a motion in limine. Louzon, 718 F.3d at 562. Indeed, ample case law

 precludes Cantwell’s efforts to use these purported motions in limine “as a substitute for a motion

 for summary judgment or other peremptory ruling in civil cases”—that is, “purposes for which it

 was never intended.” 21 Wright & Miller, Federal Practice and Procedure § 5037.18 (2021). If



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 that were not the case, Cantwell “could raise any matter in limine, as long as he included the

 duplicative argument that the evidence relating to the matter at issue is irrelevant.” Louzon, 718

 F.3d at 563.

     II.      ECF Filings 1121 & 1223 Should Also be Denied as Meritless and Moot.

           Insofar as ECF Filing 1121 could be read to raise an evidentiary challenge to the

 admissibility of Kathleen Blee’s and Peter Simi’s expert testimony, this Court has already

 conclusively ruled on that question, see ECF No. 937, and Cantwell fails to offer any valid reasons

 why reconsideration of the Court’s prior order is warranted. 1 Likewise, the Court has already

 rejected efforts by Cantwell’s co-Defendants to obtain summary judgment as to Plaintiffs’ Virginia

 conspiracy claim. ECF No. 1040 at 63. Furthermore, Plaintiffs have already decided to a course

 of action that moots out the other relief Cantwell seeks. For these reasons, too, Cantwell’s motions

 should be denied.

           A. The Court Has Already Ruled that Blee and Simi’s Testimony is Relevant and
              Admissible and Cantwell’s Arguments to the Contrary are Baseless

           In denying a motion to exclude filed by Cantwell’s co-Defendants, this Court held in no

 uncertain terms that “Blee and Simi’s challenged testimony is undoubtedly relevant and helpful to

 a jury considering the merit of Plaintiffs’ claims.” ECF 941, Mem. Op. at 18. And “courts

 generally do not depart from a previous ruling unless (1) a subsequent trial produces substantially

 different evidence, (2) controlling authority has since made a contrary decision of law applicable

 to the issue, or (3) the prior decision was clearly erroneous and would work manifest injustice.”




 1
   This is not to suggest that the Court should liberally construe Cantwell’s motion. See Laremont-Lopez v.
 Southeastern Tidewater Opportunity Center, 968 F. Supp. 1075, 1078 (E.D. Va. 1997); see also ECF 1108, at 5-6;
 ECF 1134. Although Cantwell has been proceeding pro se and has been afforded its corresponding protections and
 leniency, it has become apparent that he is improperly using ghostwriters in connection with his recent filings to this
 Court, including the motions at-issue here. See ECF No. 1185.

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 Blick v. Shapiro & Brown, LLP, No. 3:16-cv-00070, 2017 WL 8777361, at *1 (W.D. Va. Nov. 8,

 2017) (internal quotation marks and citation omitted).

        Even putting to one side the fact that reconsideration is “disfavored” and granted

 “sparingly,” Shapiro & Brown, 2017 WL 8777361, at *1 (citation omitted), Cantwell’s purported

 grounds for reconsideration lack any merit. All that Cantwell has to offer is the argument that

 “absurd and demonstrably false testimony is something of a staple in the federal judicial system,”

 and the unfounded claim that, at the time of this Court’s prior ruling, “the Plaintiffs were

 misrepresenting to the Court that they could make a case that the Defendants engaged in a

 conspiracy.” ECF No. 1121 at 9. Indeed, with respect to Cantwell’s first motion, he implicitly

 concedes that Blee and Simi’s testimony that he seemingly seeks to challenge is, in fact, relevant

 to Plaintiffs’ conspiracy claims. See ECF No. 1121 at 10 (conceding that, if Plaintiffs “had any

 basis to argue that Cantwell engaged in a conspiracy that led to the specific torts suffered by the

 Plaintiffs, . . . then, this testimony . . . would be relevant.”). But this Court has already

 determined that “the Plaintiffs have plausibly alleged the Defendants formed a conspiracy to

 commit the racial violence that led to the Plaintiffs’ varied injuries,” ECF No. 335, Mem. Op. at

 1, and this Court has already denied motions for summary judgment filed by Cantwell’s co-

 defendants, see ECF 1040, Mem. Op. at 1. Reconsideration is therefore plainly unwarranted.

        B. Cantwell’s Arguments as to Plaintiffs’ Civil Conspiracy Claim also Lack Merit.

        Similarly, Cantwell has made no effort to satisfy the demanding standard for seeking

 reconsideration on the already-decided issues he raises as to Plaintiffs’ civil conspiracy claim. See

 ECF No. 1123. For one thing, although Cantwell moved to dismiss Plaintiffs’ civil conspiracy

 claim over three years ago, he failed to raise any arguments as to Plaintiffs’ allegation that the

 Defendants falsely imprisoned certain Plaintiffs. See ECF No. 205, 206 (Cantwell’s brief in



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 support of his motion to dismiss). Thus, Cantwell has no cause to complain that the Court “did

 not address the claims for conspiracy to commit . . . false imprisonment.” 2 ECF No. 1123 at

 2. Nor did Cantwell timely seek summary judgment on these (or any other) issues. What is more,

 Cantwell’s false imprisonment arguments are meritless. Compare ECF No. 1040, Mem. Op. at 25

 (describing how certain defendants encircled and attacked Plaintiffs), with Dill v. Kroger Ltd.

 Partnership I, 860 S.E.2d 372, 380 (Va. 2021) (“To prevail in an action for false imprisonment, a

 plaintiff must prove that her liberty was restrained, either by words or acts that she would fear to

 disregard, and that there was no sufficient legal excuse to justify the restraint.”).

          For another, following the Court’s guidance, Plaintiffs have already decided, in the interest

 of streamlining issues at trial, to support their civil conspiracy claim by relying solely on the

 Virginia hate crimes statute, assault, battery, and false imprisonment predicates—each of which

 more than suffices for Plaintiffs to prevail on their civil conspiracy claim. See ECF No. 335, Mem.

 Op. at 47-49 & n.4 (expressing the Court’s expectation that the Plaintiffs will winnow the list of

 predicate acts supporting their civil conspiracy claim). Accordingly, to the extent Cantwell seeks

 to preclude Plaintiffs from arguing that Defendants’ violated certain Virginia criminal statutes,

 that issue is moot.

          In short, Cantwell’s thinly disguised dispositive motions are not only untimely and

 procedurally improper, but also meritless and moot.

                                                  CONCLUSION

          For the foregoing reasons, the Court should deny Cantwell’s Motion in Limine to Bar

 Plaintiffs from Arguing or Presenting Evidence in Support of Theories of Aiding or Abetting or



 2
  Cantwell’s passing contention that the Court did not address Plaintiffs’ claims “for conspiracy to commit battery,”
 ECF No. 1123 at 2, is just plain false. The Court specifically held that Plaintiffs alleged injuries would “constitute
 assaults and batteries.” ECF No. 335 at 48 (emphasis added).

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 Contributory Negligence, ECF No. 1121, and Motion in Limine For A Determination That No

 Private Right of Action Lies for Conspiracy to Violate a Virginia State Statute Absent Enforcement

 Provisions, to bar Plaintiffs from Arguing the Same, and, To Clarify Whether Plaintiffs Have Pled

 a Valid Claim for Conspiracy to Commit False Imprisonment, ECF No. 1123.




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   Dated: October 12, 2021                            Respectfully submitted,

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        I hereby certify that on October 12, 2021, I filed the foregoing with the Clerk of Court
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